440 U.S. 987
    99 S.Ct. 1986
    60 L.Ed.2d 370
    Betty EVANS, Individually and as Next Friend Acting on  Behalf of John Louis Evans III, applicant,v.Larry BENNETT, Commissioner, Alabama  Correctional System, et alNo. A-868
    Supreme Court of the United States
    April 13, 1979
    
      Application for stay of execution, presented to Mr. Justice REHNQUIST and by him referred to the Court, denied.
      Mr. Justice BRENNAN, concurring:
    
    
      1
      It should be noted that the applicant has filed a letter with the Clerk of the Court stating in part:
    
    
      2
      "1. On April 11, 1979, John Louis Evans, applicant's
    
    
      3
      son, signed and verified a petition for writ of habeas corpus      and stay of execution for filing with the United States      District Court for the Southern District of Alabama.
    
    
      4
      2. Also, on April 11, 1979, that verified petition was
    
    
      5
      mailed for filing to the clerk of that court.
    
    
      6
      3. As of April 11, 1979, the Alabama Supreme Court had
    
    
      7
      not yet set a new execution date for John Louis Evans.
    
    
      8
      The above stated facts may make it unnecessary for the Court to rule on her application for a stay at its conference on Friday, April 13.  Should the District Court grant her son's application for a stay of execution, the application for a stay before this Court would become moot.  Applicant is aware that the temporary stay granted in this action expires at 5:00 p. m. on April 13, 1979.  No harm will come to applicant by the expiration of the temporary stay since the Alabama Supreme Court has not yet set a new execution date for her son and, until such date is set, her son cannot be executed."
    
    
      9
      In view of the foregoing, it is apparent that there is now no need to grant the application.
    
    
      10
      Mr. Justice POWELL took no part in the consideration or decision of this application.
    
    